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                       IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION



 UNITED STATES OF AMERICA, the                   )
 STATE OF TEXAS, the STATE OF                    )
 COLORADO, the STATE OF INDIANA, the             )
 STATE OF IOWA, the STATE OF                     )
 MINNESOTA, the STATE OF NEW                     )
 MEXICO, the STATE OF TENNESSEE, the             )
 STATE OF WASHINGTON, ex rel.                    )
 HICHEM CHIHI, 1,                                )
                                                 )
             Plaintiff-Relator,                  )    Civil Action No. 4:18-cv-00123
                                                 )
             v.                                  )
                                                 )
 CATHOLIC HEALTH INITIATIVES; CHI-               )
 ST LUKE’S HEALTH; and ALAN                      )
 HOFFMAN, M.D.;                                  )
                                                 )
                                  Defendant.     )
                                                 )




   ORDER GRANTING CATHOLIC HEALTH INITIATIVES AND CHI-ST. LUKE’S
    HEALTH’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO ANSWER
                   SECOND AMENDED COMPLAINT

         After considering Defendants Catholic Health Initiatives and CHI-St. Luke’s Health’s

Unopposed Motion for Extension of Time to Answer the Second Amended Complaint, the Court

finds the motion should be GRANTED for the reasons stated therein. Accordingly, the Court

GRANTS the Motion and ORDERS as follows:

         Defendants Catholic Health Initiatives and CHI-St. Luke’s Health shall have until and

including Friday, July 29, 2022 to answer or otherwise respond to the Second Amended Complaint.

         Signed this ________ day of _____________________, 2022.



                                                     ___________________________________
                                                     JUDGE PRESIDING


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